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Attorneys for Plaintiff
Hilcorp Alaska, LLC


                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA


HILCORP ALASKA, LLC,                      )
                                          )
       Plaintiff,                         )
                                          )
v.                                        )       Case No. 3:10-cv-00269-SLG
                                          )
FOREST OIL CORPORATION,                   )
                                          )
       Defendant.                         )
                                          )

                            STIPULATION FOR DISMISSAL

       Hilcorp Alaska, LLC and Forest Oil Corporation, pursuant to Federal R. Civ. P.

41(a)(1)(A)(ii), hereby stipulate to dismiss this matter with prejudice, each party to bear

its own costs and fees.




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             DATED at Anchorage, Alaska, this 31st day of August, 2012.

                                         GUESS & RUDD P.C.
                                         Counsel for Hilcorp Alaska, LLC

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             DATED at Seattle, Washington, this 31st day of August, 2012.

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                                         /s/ Matthew R. Berry (by consent)
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CERTIFICATE OF SERVICE

I hereby certify that on this 31st day of August, 2012, a copy
of the foregoing document was served electronically on the following:

David A. Devine
Geoffrey L. Harrison
Greg C. Laswell
Kenneth P. Eggers
Kenneth S. Marks
Matthew R. Berry
Parker C. Folse, III

Guess & Rudd P.C.

By: /s/James D. Linxwiler
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